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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

19 CR. 576 (BMC)
-against-

GENARO GARCIA LUNA, &T AL.,

Defendants.

MEMORANDUM OF LAW IN SUPPORT OF
GENARO GARCIA LUNA’S MOTION FOR A NEW TRIAL
PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 33
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PRELIMINARY STATEMENT

During the years in which he served as Mexico’s Secretary of Public Security, Mr. Garcia
Luna was showered with praise from every corner of the United States law enforcement and
political communities. He hosted and was hosted by United States presidents, directors of the
United States Central Intelligence Agency (“CIA”), directors of the Drug Enforcement
Administration (“DEA”), directors of the Federal Bureau of Investigation (“FBI”), ambassadors,
and countless other United States officials. He was the United States’ key partner in Mexico,
helping shepherd and account for billions of dollars of United States aid to Mexico in the
countries’ fights against organized crime and narcotics trafficking.

Nonetheless, years after he left Mexican government service, the United States
government chose to prosecute Mr. Garcia Luna on the word of some of the world’s worst
criminals — cartel leaders who were personally responsible for the murder and torture of
thousands and who distributed millions of kilograms of cocaine to the streets of the United
States. In February 2023, Genaro Garcia Luna was convicted of assisting the Sinaloa Cartel in
its worldwide narcotics distribution network. However, since the guilty verdict, new evidence
has come to light establishing that the case against Genaro Garcia Luna was marred by multiple
Brady violations and false testimony by critical witnesses. The newly discovered evidence
should persuade the Court that allowing his conviction to stand would be a manifest injustice.
Where, as is the case here, there is a real concern that an innocent person may have been
convicted, Rule 33 of the Federal Rules of Criminal Procedure bestows on district courts the
power to prevent a manifest injustice by ordering a new trial.

First, the defense is now in possession of documents and information that proves that Mr.

Garcia Luna and Mexico’s Special Investigative Unit (“SIU”) were subjected to extensive United
States background checks and comprehensive vetting, including polygraph examinations by the
DEA and other United States government agencies. These background investigations covered
the same ground as the allegations in this case. Moreover, this information should have been
produced to the defense as Brady material. See Brady v. Maryland, 373 U.S. 83 (1963); Federal
Rule of Criminal Procedure 5(f). Failing to produce materials in the government’s possession
concerning the vetting to which Mr. Garcia Luna was subjected by the United States government,
which was ongoing during the time he was alleged to have been committing the charged crimes,
is grounds for a new trial.

Second, the defense is now in possession of documents and information that show that
the CIA vetted a separate unit of the Secretariat of Public Security (“SSP”), created by Mr.
Garcia Luna, that worked to provide information and analysis to the CIA regarding narcotics
trafficking and the different Mexican cartels. This information also should have been disclosed
pursuant to Brady and Rule 5(f). Failing to produce information in the government’s possession
concerning members of Mr. Garcia Luna’s staff who were vetted by and assisted the CIA during
the time he was alleged to have been committing the charged crimes, is grounds for a new trial.

Third, the defense is now in possession of proof that a government witness, Hector
Villarreal Hernandez, continued to commit crimes in the United States while actively
cooperating with the government. Furthermore, members of the prosecution team at the DEA as
well as the United States Attorneys’ Offices in Texas were made aware of the information and/or
handed the evidence of his continuing criminal behavior. These materials also should have been
disclosed under Brady and Rule 5(f). Failing to produce impeachment materials in the
government’s possession concerning Mr. Villarreal Hernandez’s continued criminal activity

while a government cooperator is grounds for a new trial.
Fourth, the defense can prove through newly discovered evidence that cooperating
witness Hector Villarreal Hernandez testified falsely numerous times at Mr. Garcia Luna’s trial.
Most notably, Mr. Villarreal Hernandez claimed that Mr. Garcia Luna tried to suppress negative
press coverage focused on his alleged kidnapping by Arturo Beltran Levya by bribing the
publisher of one of Mexico’s largest news outlets. This was not true, and Mr. Villarreal
Hernandez’s testimony in support of that claim can now be established as false. This newly
discovered evidence of Mr. Villarreal Hernandez’s false testimony is grounds for a new trial.

Fifth, the defense can prove through newly discovered evidence that every aspect of the
testimony of Francisco Cafiedo Zavaleta, the self-professed sole eyewitness to Mr. Garcia Luna’s
alleged kidnapping, was false. Mr. Cafiedo Zavaleta, who had a longstanding vendetta against
Mr. Garcia Luna, testified that he was a security guard at Mr. Garcia Luna’s SSP headquarters.
This is demonstrably false. Mr. Cafiedo Zavaleta testified that he witnessed Mr. Garcia Luna’s
kidnapping on October 19, 2008. This is demonstrably false. This newly discovered evidence
that proves Mr. Cafiedo Zavaleta falsely testified before this Court is grounds for a new trial.

Sixth, the defense can prove through newly discovered evidence that despite the
government’s repeated assertions to the contrary, cooperating witnesses in this case
communicated with each other in advance of trial through contraband cellular telephones in jail.
One witness even admitted that he would lie to the government to get released and continue his
drug dealing, with the added benefit of taking Mr. Garcia Luna down in the process. This new
evidence of cooperator collaboration taints the government’s cooperating witnesses’ testimony
and is grounds for a new trial.

In addition to those six grounds, in light of the disclosure violations by the government

set forth here, the defense urges the Court to reexamine the government’s representations during
trial that it failed to memorialize approximately 48 meetings with Jesus “El Rey” Zambada
Garcia, the first ever cartel member of his stature to cooperate with the United States.

Any one of these issues standing alone would be grounds for a new trial. However, the
cumulative effect of these violations and false testimony by critical witnesses should lead the
Court to conclude that there is more than just a “real concern” that Mr. Garcia Luna was
convicted of charges of which he is innocent. A trial so marred by Brady violations and
perjurious testimony is unbecoming of the United States justice system. Letting the verdict stand
would be a manifest injustice and the Court should vacate Mr. Garcia Luna’s conviction and
order a new trial.

STATEMENT OF FACTS

A. The Charges

On December 4, 2019, a Grand Jury sitting in the Eastern District of New York returned
an indictment charging Mr. Garcia Luna, the former Secretary of Public Security and member of
the presidential cabinet of Mexican President Felipe Calderén, with: (1) conspiring to distribute
cocaine in violation of 21 U.S.C. §§ 933, 960(b)(1)(B) Gi) and 959(d) and 18 U.S.C. §§ 3238 and
3551 et seq.; (2) conspiring to distribute and possess cocaine with intent to distribute cocaine in
violation of 21 U.S.C. §§ 846 and 841(b)(1)(A)(ii)(ID and 18 U.S.C. § 3551 et seq.; (3)
conspiring to import cocaine in violation of 21 U.S.C. §§ 963 and 960(b)(1)(B)(ii) and 18 U.S.C.
§3551 et seq.; and (4) making false statements in violation of 18 U.S.C. §§ 1001(a)(2) and 3351
et seq. On July 30, 2020, the Grand Jury returned a superseding indictment adding a charge of

engaging in a continuing criminal enterprise in violation of 21 U.S.C. § 848.
B. Defense Requests Pursuant to Brady v. Maryland

During his career spanning more than 20 years in Mexico’s government and law
enforcement communities, Mr. Garcia Luna met with countless high-level members of United
States law enforcement, as well as appointed and elected United States government officials. As
part of its pretrial preparation, the defense became aware that Mr. Garcia Luna and his team were
subjected to extensive vetting practices; vetting practices that addressed the very facts at issue in
this case. Specifically, the defense had reason to believe that as part of Mr. Garcia Luna’s duties
and responsibilities, including his role as the primary shepherd of the billions of dollars of aid
provided by the United States to Mexico as part of the Merida Initiative, Mr. Garcia Luna had
been subjected to background investigations, including polygraph examinations, by United States
law enforcement. The defense sought those materials from the government.

By letter dated April 15, 2022, the defense requested from the government, inter alia, any
documents relating to the United States Government’s vetting of Mr. Garcia Luna. In its request,
the defense explained:

[D]uring his time as a Mexican government official Mr. Garcia Luna had

numerous meetings with politicians and officials in the highest levels of the

American government. Prior to those meetings, the United States government

would have conducted detailed background checks of Mr. Garcia Luna to

ensure that such meetings would pose no threat or embarrassment to the

United States. The results thereof and all materials generated in connection

with such background checks should be produced to the defense. In light of

the fact that these meetings occurred, such background checks must have

given United States officials sufficient comfort that Mr. Garcia Luna was not

involved or suspected to be involved in any criminal conduct and, thus,

constitutes Brady material.

Declaration of César de Castro in Support of Motion for a New Trial Pursuant to Rule 33 (“de
Castro Decl.”), Exhibit (“Ex.”) A at 2. The defense further asked for “[t]he results of and all

materials generated in connection with any and all background checks concerning Mr. Garcia
Luna, including but not limited to those conducted in advance of Mr. Garcia Luna interacting
with the below listed individuals around the below listed time periods, conducted by the United
States at any point during the years 2001 through 2012.” Jd. at 5-6.

The government responded by letter on May 1, 2022, stating that “[t]he Prosecution
Team does not possess any background checks conducted on the defendant in advance of any
meetings with U.S. government officials. To the extent the Prosecution Team acquires such
material, it will review those materials and comply with its discovery obligations.” See de

Castro Decl., Ex. B at 2.

C. Trial Evidence

Mr. Garcia Luna’s trial began on January 17, 2023, with the government’s case lasting
until February 14, 2023. The government called members of United States law enforcement, the
United States Ambassador to Mexico, members of Mexican law enforcement, and numerous
cooperating witnesses who were, with the exception of Hector Villarreal Hernandez, all members

of or associated with the Sinaloa Cartel or the Beltran Leyva drug organization (“BLO”).
1. United States Law Enforcement and Government Official Witnesses

Most of the law enforcement witnesses called by the government testified about the
existence of the Sinaloa Cartel and the United States’ efforts to combat the cartel in both Mexico
and the United States. Little, if any, of this testimony was disputed by the defense. These
witnesses did not mention Mr. Garcia Luna or imply that he was involved in the activities of the
cartels. As this evidence was uncontroverted, it will not be rehashed here.

The only member of United States law enforcement who testified in any meaningful way
about Mr. Garcia Luna’s tenure in the Mexican government was DEA Deputy Special Agent in

Charge (“DSAC’”) of Texas, Miguel Madrigal, who was stationed in Mexico from 2008 until
2015. DSAC Madrigal testified that one of the government’s cooperators, Sergio Villarreal
Barragan, had told him shortly after his arrest that Mr. Garcia Luna had “business dealings” with
the cartel. See Trial Transcript of United States v. Garcia Luna, No. 19 Cr. 576 (BMC) (“TT”) at
965. DSAC Madrigal also testified that members of Mexico’s SIU, a branch of the SSP, were
trained and polygraphed by the United States. See TT at 955-56. He further testified that, while
Mr. Garcia Luna was the Secretary of the SSP, the government of Mexico and the SSP were
arresting many members of many cartels, including the Sinaloa Cartel and the BLO. See TT at
1004.

Supervisory Special Agent Jose Moreno of the FBI testified about a failed attempt to
arrest Joaquin Guzman Loera in 2012. See TT at 1331-48. Agent Moreno testified that after the
raid he was able to recover and photograph the cartel’s financial ledgers. See TT at 1346.
However, he could not testify that Mr. Garcia Luna’s name, or any references to him, were found
in those ledgers.

The next law enforcement officer of note was Ivan Carrera, DEA Supervisory Special
Agent in Dallas, Texas, who participated in Mr. Garcia Luna’s arrest in Texas and was present for
Mr. Garcia Luna’s post-arrest statement. See TT at 1385.

The final law enforcement officer called by the government, Special Agent George Dietz,
was an investigator for the United States Attorney’s Office for the Eastern District of New York
who was also present in court each day of trial. Special Agent Dietz was called to counter
testimony elicited on cross examination from certain government cooperating witnesses that they
had been in contact with each other and had the opportunity to coordinate their testimony.
Special Agent Dietz testified that the United States Attorney’s Office took steps to ensure

witnesses never communicated with one another to make sure the “integrity of the information|]
isn't contaminated by running into other witnesses, or seeing information they don't have
personal knowledge of.” TT at 1424. He also testified that there was a separation order for
witnesses in custody. See TT at 1425.

The government called former United States Ambassador to Mexico Earl Anthony Wayne
to testify. Ambassador Wayne, who’s time in Mexico overlapped with Mr. Garcia Luna’s last
year as Secretary of Public Security, testified that he would meet with Mr. Garcia Luna often
during that year because Mr. Garcia Luna “was one of the key members of the [Mexican] cabinet
with whom we worked.” TT at 1190. Ambassador Wayne testified generally about his
understanding regarding the various Mexican law enforcement entities that targeted the cartels
and the United States government’s opinions about the efficiencies of those agencies.

Ambassador Wayne did not testify that he believed that Mr. Garcia Luna was corrupt, or
that the United States had any indication that he was. See TT at 1216. In fact, Ambassador
Wayne received numerous “significant updates” from United States law enforcement agencies
and testified that if the United States had received any credible evidence that Mr. Garcia Luna
was corrupt, he would have known about it. See TT at 1216. Indeed, after Mr. Garcia Luna
would brief the Ambassador, his briefings would be fact checked by United States law
enforcement, and Ambassador Wayne was never told that Mr. Garcia Luna’s information was
incorrect. See TT at 1217-18.

The government also attempted to use Ambassador Wayne to establish that Mr. Garcia
Luna had unexplained wealth while he was Secretary of Public Security. Although Ambassador
Wayne described dinners he had at Mr. Garcia Luna’s personal residence and remembered a nice
fish tank, he could not say that Mr. Garcia Luna’s home was ostentatious or otherwise suggested

any unexplained wealth. See TT at 1196.
2. Mexican Law Enforcement Witnesses

The government’s witnesses included two members of Mexican law enforcement, Raul
Arellano-Aguilera and Francisco Cafiedo Zavaleta, both of whom possessed personal vendettas
against Mr. Garcia Luna.

Mr. Arellano-Aguilera was a member of the federal police stationed at the Mexico City
airport from 2007 until 2010. See TT at 650, 681. He testified concerning rumors about the flow
of narcotics being moved through the Mexico City Airport by a “special group” of officers. Mr.
Arellano-Aguilera testified that the “special group” at the airport tried to recruit him into their
operation to allow cartel drugs and money to flow through the airport, and that he had heard that
Mr. Garcia Luna received portions of the bribes paid by narcotics traffickers to the police in
connection with the Mexico City airport. However, Mr. Arellano-Aguilera did not have any
personal knowledge of the veracity of these rumors. See TT at 668-69, 674.

In 2010, Mr. Arellano-Aguilera was unhappy when he was moved by his superiors to
Nuevo Leon, a dangerous area of Mexico, to join an investigative unit created by Luis Cardenas
Palomino. See TT at 682-83. He blamed Mr. Palomino and Mr. Garcia Luna, both of whom he
disliked because they were not career officers like him, and did not “earn their way to [their]
positions.” TT at 700. Mr. Arellano-Aguilera left the police in 2011 because he “felt let down
and thought the best thing would be to resign.” TT at 684.

The government also called Mexican federal police officer Francisco Cafiedo Zavaleta to
testify. Mr. Cafiedo Zavaleta testified that he allegedly witnessed the kidnapping of Mr. Garcia
Luna by the BLO. Mr. Cafiedo Zavaleta testified that he was employed by the Mexican Attorney
General’s Office as a security guard, first in 2006, at the Federal Police building in Mexico City

(located near the Angeles Del Pedrigal Hospital), and then in 2007, at the SSP headquarters
located at Avenue Constituyentes #947, Colonia Belén de las Flores, Alcaldia Alvaro Obregon,
Mexico City, in 2007. See TT at 1047-48; Government Exhibit 711. While stationed at SSP
Headquarters, Mr. Cafiedo Zavaleta claimed that he would see Mr. Garcia Luna coming into the
complex, including the public reception area. See TT at 1048.

Mr. Cafiedo Zavaleta testified that on October 19, 2008, at approximately 12:00 p.m., he
witnessed Mr. Garcia Luna being kidnapped by BLO leader Arturo Beltran Leyva and his
lieutenant Edgar “La Barbie” Valdez Villarreal on the toll-free road from Mexico City to
Cuernavaca. See TT at 1053-54. He testified that he saw several SUVs “stranded” on the side of
the road coming from Cuernavaca, with Mr. Garcia Luna talking to Mr. Beltran Leyva and La
Barbie while La Barbie was holding a long gun. TT at 1054. Mr. Cafiedo Zavaleta then testified
that he stopped further down the road where he witnessed the cars turn around and pass him,
with Mr. Beltran Leyva in the first car, La Barbie in the second car, and Mr. Garcia Luna driving
the third car. See TT at 1056. He further testified that upon observing his boss being kidnapped
and in potential grave danger, he did not report this to any law enforcement or take any action to
assist Mr. Garcia Luna or the members of his security detail who were allegedly kidnapped at
gunpoint by murderous cartel members. See TT at 1100. Instead, after driving back to Mexico
City, he reported what he had seen to opposition Congresswoman Layda Sansores San Roman,
submitted a letter recounting the events to her, and provided a copy to Proceso Magazine, which
promptly wrote a story that garnered national attention. See TT at 1060-62; Defense Exhibit G,
GT.

Like Mr. Arellano-Aguilera, Mr. Cafiedo Zavaleta carried a personal animus against Mr.
Garcia Luna. Mr. Cafiedo Zavaleta, like Senator Sansores and her party, opposed Mr. Garcia

Luna’s “illegal unification of [Federal Ministerial Police (“AFT’)] with the federal police” forces

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and the imposition of more rigorous testing and background checks for the officers in that unified
force. TT at 1046. He testified that he was let go from the AFI, an agency in the Mexican
Attorney General’s office (“PGR”) in 2000 and reinstated by judicial order in 2006. See TT at
1040. Mr. Cafiedo Zavaleta testified that he was let go because “someone” wanted him to be

removed from the police force for “political reasons”. TT at 1082-83.
3. Cooperating Witnesses — Cartel Members

The government called nine cooperating witnesses: Sergio Villarreal Barragan a.k.a. “El
Grande”, Tirso Martinez Sanchez, Hector Tolentino, Oscar Nava Valencia a.k.a. “Lobo”, Israel
Avila, Harold Mauricio Poveda Ortega a.k.a. “El Conejo”, Hector Villarreal Hernandez, Edgar
Veytia, and Jesus Zambada Garcia a.k.a. “El Rey”. With the exception of Hector Villarreal
Hernandez and Edgar Veytia, all these cooperating witnesses were members of or conducted
narcotics trafficking with the Sinaloa Cartel or the BLO.

The first cooperating witness called by the government was Sergio “El Grande” Villarreal
Barragan. See TT at 48. Mr. Villarreal Barragan was a former police officer turned cartel
member who worked for Arturo Beltran Leyva. See TT at 70-71. He testified that Mr. Garcia
Luna was paid by the cartels. See TT at 51. He claimed that Mr. Garcia Luna would wait in a
shopping mall parking lot in Mexico City in the middle of the workday for Mr. Beltran Leyva’s
men, who would pick him up and drive him to a safe house without his security detail. See TT at
105, 224. Finally, Mr. Villarreal Barragan claimed that he never spoke to the other cooperating
witnesses after he was arrested in 2010. See TT at 183, 193.

Tirso Martinez Sanchez was an independent drug trafficker who coordinated large
shipments of cocaine from Mexico to the United States by train for the Sinaloa Cartel. He did

not offer any relevant testimony about Mr. Garcia Luna.

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Hector Tolentino was a member of the Trinitarios street gang. He testified about his drug
sales in New York City and ties to the Sinaloa Cartel, which was substantiated by significant
corroborating evidence, but did not mention Mr. Garcia Luna.

Oscar Nava Valencia was the leader of the Milenio Cartel and worked closely with both
the BLO and later the Sinaloa Cartel. He testified extensively about a large drug seizure in the
port of Manzanillo in October 2007, and about a meeting in Cuernavaca between the heads of the
cartel (before it fractured), allegedly attended by Mr. Garcia Luna. Mr. Nava Valencia testified
that he attended the meeting with his brother and Mr. Garcia Luna showed up in an SUV. See TT
at 527. Allegedly, the purpose of the meeting was to determine what assistance Mr. Garcia Luna
could provide with respect to the Manzanillo seizure. See TT at 527. Mr. Garcia Luna allegedly
informed them that there was nothing he could do about recovering the drugs from the seizure.
See TT at 526-528. Mr. Nava Valencia further testified that he met Mr. Garcia Luna again in
2008, at an impromptu meeting in Guadalajara two months after Mr. Nava Valencia himself had
been kidnapped by Mr. Beltran Leyva. See TT at 542-43. The meeting supposedly took place in
a carwash and Mr. Nava Valencia claimed to have paid Mr. Garcia Luna $500,000 for the
meeting and another $2,500,000 for his protection. See TT at 538, 541-542. Guadalajara is an
approximately six-hour drive from Mexico City.

The next cooperating witness to testify was Israel Avila, a real estate agent and
accountant for the BLO. See TT at 713. Mr. Avila had never met Mr. Garcia Luna. See TT at
774. He testified that he created or saw Sinaloa Cartel bribe ledgers with entries for “tartamudo”
and “metroletta”, referring to payments to Mr. Garcia Luna. TT at 747. These ledgers were

never presented at trial.

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The government then called Harold Mauricio Poveda Ortega, a cocaine trafficker for the
Sinaloa Cartel who imported more than 1,000,000 kilograms of cocaine to the United States,
earning $300-$400 million in profit. See TT at 892. He testified that he was so close with
Arturo Beltran Leyva that many people were “envious of the relationship”, and that he had
“constant contact” with him. TT at 864. But Mr. Poveda Ortega had never met Mr. Garcia Luna
or even spoken to him. Nor had he overheard his mentor Mr. Beltran Leyva speak with Mr.
Garcia Luna on the telephone. See TT at 921. Mr. Poveda Ortega also testified that he had seen
Mr. Zambada Garcia one time since his arrest, and that they were transported together. See TT at
914.

With respect to the claim that Mr. Garcia Luna was kidnapped on October 19, 2008, most
of these cooperators offered different versions from the version alleged by Mr. Cafiedo Zavaleta
who testified that Arturo Beltran Leyva and Edgar “La Barbie” Valdez Villarreal had personally
conducted the kidnapping, and that they did so on an open road. See TT at 1054. Mr. Villarreal
Barragan, on the other hand, testified that Mr. Beltran Leyva was not present but had ordered the
kidnapping, and Mr. Garcia Luna was taken to a safehouse. See TT at 174. Mr. Poveda Ortega
testified that he heard about Mr. Garcia Luna’s kidnapping from Mr. Beltran Leyva, but could not
specify when it was, or if the alleged kidnapping had already happened when he heard about it,
but that it appeared to be happening in real time. See TT at 876-77, 901. Mr. Avila testified that
he was told by his friend, Francisco Camacho, that Mr. Camacho had kidnapped Mr. Garcia Luna

and was awarded a house by Mr. Beltran Leyva for doing so. See TT at 756.

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4. Cooperating Witnesses — Non-Cartel Members

Hector Villarreal Hernandez, Secretary of Finance to the Mexican State of Coahuila from
2008 until 2010, was also called to testify by the government as a cooperating witness. He was
supposedly not associated with the cartels in any way but had committed other crimes that led to
his conviction in the United States. See TT at 1129, 1133. Mr. Villarreal Hernandez testified that
he first met Mr. Garcia Luna in 2008 to review security monies allotted to Coahuila, and then a
second time at the “Bunker” [the National Command and Control Center] in the beginning of
2009. See TT at 1146-47.

Mr. Villarreal Hernandez described the “Bunker” as a federal building “that housed some
of the most advanced intelligence systems that analyzed in real time everything that was going
on in every single state.” TT at 1147. At this second meeting in the beginning of 2009, he
claims that he was shown a demonstration of the security software program called “Pegasus,”
which he claimed projected a member of his group’s messages up on a screen for everyone to
see. TT at 1148. He further claimed that Mr. Garcia Luna offered to sell him the software for
him to purchase for the State of Coahuila. See TT at 1148.

According to Mr. Villarreal Hernandez, at the “beginning of 2009” meeting, Mr. Garcia
Luna also allegedly asked him and Governor Moreira Valdés to help him control his image in the
media. See TT at 1151. Mr. Garcia Luna allegedly discussed the rumors that the cartels had
kidnapped him. See TT at 1151. Mr. Garcia Luna asked “if there was any way to get close to” or
“any way of approaching” the national and well-known newspaper, El Universal, to suppress
“rumors” about his kidnapping. TT at 1151. Mr. Villarreal Hernandez testified that the owner of
El Universal, Juan Francisco Ealy Ortiz, was good friends with Governor Moriera Valdés and

that Mr. Garcia Luna asked to be connected to Mr. Ealy Ortiz. See TT at 1152-54. Mr. Villarreal

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Hernandez testified that this conversation led Governor Moreira Valdés to contact Mr. Ealy Ortiz
and broker a 25,000,000 peso monthly bribe to El Universal. See TT at 1154. He claimed that
he personally accompanied one of Mr. Garcia Luna’s subordinates to El Universal’s offices for
the first bribe payment, and that in return, E] Universal promised that “the secretary of public
securities [sic] work for the federal Government and the Mexican citizens would shine.” TT at
1155. Mr. Villarreal Hernandez also testified that he paid one of the final bribe payments from
Coahuila’s budget on behalf of Mr. Garcia Luna, kept a copy of the invoice dated June of 2009,
and brought it with him to the United States when he was fleeing charges against him in Mexico.
See TT at 1156-58; Government Exhibit 440A.

Edgar Veytia, admitted murderer and torturer working on behalf of narcotics traffickers,
as well as the former Attorney General of Nayarit, was the next cooperating witness to be called.
See TT at 1233. Mr. Veytia testified that while Director of Transit in the City of Tepic in October
of 2008, his boss Commander Violante attended a national security conference in Mexico City
and was told by Mr. Garcia Luna to take El Chapo’s side in the Sinaloa civil war. See TT at
1240. Mr. Veytia also testified that in 2011, after becoming the Secretary of Public Security for
Tepic, then Governor of Tepic, Manuel Gonzalez, was told by President Felipe Calderon and Mr.
Garcia Luna in Mexico City that “the line was Chapo,” meaning they should take El Chapo’s
side in the war between the cartels. TT at 1256-57. Later in 2011, Roberto Sandoval became
Governor of Nayarit and Mr. Veytia was promoted to Assistant Attorney General. See TT at
1259. In December of that year, after rebuffing El Chapo’s lawyers’ offer to purchase Nayarit,
Mr. Veytia claims that his safe house was attacked and even though he called the SSP for help,

only the Army came. See TT at 1261, 1264.

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Mr. Veytia also testified that Governor Sandoval requested a meeting with Mr. Garcia
Luna in Mexico City after the attack because the SSP failed to respond with assistance. See TT
at 1256. Mr. Veytia claimed to have accompanied Governor Sandoval to the meeting. See TT at
1265. Mr. Veytia testified that only Governor Sandoval was allowed in the meeting with Mr.
Garcia Luna, and Mr. Veytia was given a tour of the “Bunker” by Mr. Palomino instead. See TT
at 1266. Mr. Palomino allegedly stated that the State of Nayarit was on the wrong side of the
war between El Chapo and the BLO. See TT at 1267. Following Governor Sandoval’s meeting
with Mr. Garcia Luna, the Governor told Mr. Veytia that Mr. Garcia Luna was not going to help
Nayarit with anything. See TT at 1267-68.

The final cooperating witness called by the government was Jesus Zambada Garcia,
brother of the current leader of the Sinaloa Cartel, Ismael Zambada Garcia, “El Mayo”. Mr.
Zambada Garcia testified that he was present when his brother’s attorney, Oscar Paredes, bribed
Mr. Garcia Luna twice at the end of 2006 at the Champs Elysées restaurant in Mexico City. See
TT at 1471-81. He also testified on cross examination that after his arrest, he was unable to
escape or bribe his way out of prison even though Mr. Garcia Luna was a member of the
President’s cabinet. See TT at 1552-53. He also admitted on cross examination that in his
proffers with the government and in prior testimony at the El Chapo trial, his recitation of events
at the Champs Elysées was different than what he testified to at Mr. Garcia Luna’s trial, and that
his story even varied from proffer to proffer. TT at 1586-1600. Additionally, Mr. Zambada
Garcia testified that he last saw Mr. Nava Valencia in 2008, Mr. Villarreal Barragan sometime
after his own arrest, and Mr. Poveda Ortega once when they were transported to court together in

the United States. See TT at 1520-21.

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D. Jesus Zambada Garcia’s Missing 3500 Material

Before Jesus Zambada Garcia testified, the defense raised with the prosecution, and later
with the Court, that it believed it had not been provided with all of the Jenks Act material related
to Mr. Zambada Garcia. Mr. Zambada Garcia proffered with the government at least 118 times,
but the defense was only provided notes from 70 meetings with no DEA-6 reports produced. See
ECF No. 216; TT at 1440-48. The government acknowledged the discrepancy but claimed that
“the majority of the meetings that Mr. de Castro [was] referencing happened before the Chapo
trial” — that is, trial preparation. TT at 1443.

At Mr. Zambada Garcia’s sentencing, the minutes of which were produced as Jenks Act

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3500-JRZ¢-98 at 10.
ID 2213. As nocd

above, according to the government, by the time Mr. Zambada Garcia testified at Mr. Garcia
Luna’s trial he had met with prosecutors approximately 118 times. See TT at 1433. The defense
received 3500 material for only 70 of those sessions, meaning that approximately 48 meetings
generated no notes at all, purportedly because they were trial preparation. Yet, of the 70 sessions
for which the government provided 3500 materials to the defense, 11 of them indicated on their
face that they were, in fact, trial preparation sessions. As the defense pointed out to the Court,
the volume of production of Jenks Act material related to Mr. Zambada Garcia was contrary to its

experience prosecuting and defending cases and was aberrant when viewed against the

! Because Mr. Zambada Garcia’s sentencing minutes are not publicly available, we are redacting the quotes from the
publicly filed version of this memorandum and will provide an unredacted copy to the Court and the government via
email.

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productions related to the government’s other witnesses. See TT at 1442. The following is a
chart compiled by the defense summarizing the 3500 material provided by the government for

the nine cooperating witnesses who testified at Mr. Garcia Luna’s trial.

Witness # of Notes FBI DEA HSE Total #
Interviews | Received | Reports Reports Reports of
Recorded Ree’d Ree’d Ree’d Reports
and
Notes
Sergio 66 24 20 16 0 60
Villarreal
Barragan
Tirso Martinez | 39 52 0 0 1 53
Hector 14 10 6 1 0 31
Tolentino
Oscar Nava 38 22 1 23 0 46
Valencia
Israel Avila 17 11 0 7 0 18
Harold 65 65 2 1 0 68
Maurico
Poveda Ortega
Hector 21 5 0 19 0 24
Villarreal
Hernandez
Edgar Veytia | 17 13 10 0 0 23
Jesus 70 75 4 0 0 79
Zambada (per
Garcia government
118
meetings)
E. Government’s Summation and Rebuttal Summation

A centerpiece of the government’s summation was its argument that the cooperators had
to be telling the truth because they corroborated each other and yet had not, with the minor
exception of Messrs. Zambada Garcia and Poveda Ortega, spoken or had the opportunity to

coordinate their stories: “[outside of Zambada Garcia and Poveda Ortega], no other witness has

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talked to each other ... there’s no coordination here.” TT at 1800. On rebuttal, the prosecutor
reminded the jury of Special Agent Dietz’s testimony about how the cooperating witnesses were
separated and do not meet other witnesses. See TT at 1902.

The government also focused extensively on the alleged kidnapping of Mr. Garcia Luna.
It praised Mr. Cafiedo Zavaleta’s account as having the “hallmark of truth telling.” TT at 1802.
In its rebuttal summation it argued Mr. Cafiedo Zavaleta’s testimony again, describing it as
“consistent ... He gave you details ... the idea that he would completely fabricate this . . . does
that make any sense to you?” TT 1904.

In its defense of Mr. Villarreal Hernandez’s credibility, the government highlighted his
alleged tour of the “Bunker.” “Hector Villarreal Hernandez is taken to the bunker in 2009 by
Genaro Garcia Luna, and you remember how he describes it? It was impressive. It was
intimidating, almost. So many screen[s]. They could tap my phone. Suddenly, they knew
everything that I knew. And it's after the tour of the [B]unker where he says, I need you to bribe
a journalist for me. He uses that to his advantage there.” TT at 1823.

NEWLY DISCOVERED EVIDENCE

As the Court knows, the trial of Mr. Garcia Luna was widely reported in the media and
followed with great interest by people both in and outside the United States. Following the
verdict in February 2023, several individuals, including former Mexican and United States law
enforcement officials, contacted the defense with new evidence favorable to Mr. Garcia Luna.
We suspect that as people learned of the nature of the evidence, or lack of evidence, against Mr.
Garcia Luna, former officials and other individuals felt that they should speak out about what
they knew. They came forward with material that consisted of thousands of pages of documents,

audio, and video files potentially relevant to the case that the defense had never seen before and

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had to diligently review. Indeed, the Court granted the defense’s request to extend the deadline
for this motion to December 15, 2023, based on an ex parte letter submitted to the Court on July
20, 2023, detailing the sheer volume of the materials and information received by the defense.

The first set of materials received by the defense came from former members of United
States law enforcement and a former high level Mexican government official under President
Felipe Calderon (the “Official”). This material established that Hector Villarreal Hernandez
continued to commit crimes while cooperating with the government, material that was disclosed
to the United States Attorney Office for the Western District of Texas and the United States
Attorney Office for the Southern District of Texas. Later, the Official disclosed the existence of
this material directly to DSAC Madrigal.

The second set of new evidence received by the defense is a sworn affidavit from an
inmate at the Metropolitan Detention Center (“MDC”), who affirmed that cooperating witnesses
who testified at Mr. Garcia Luna’s trial were speaking to one another on contraband cellular
telephones while incarcerated prior to the trial, and at that at least one admitted to manipulating
the government into a cooperation agreement.

The third set of materials came from sources in Mexico and consisted of, among many
other things, thousands of documents from the Office of the Secretary of Public Security. The
first tranche of material provided to the defense consisted of 3.6 terabytes of files. It contained
approximately 133,000 folders containing more than 980,000 files of material consisting of
documents, videos, audios, and photographs. A second tranche consisted of 24.6 gigabytes of
documents also containing information relating to the investigations that led to the capture and
cooperation of some of the government’s witnesses. The defense continues to review and

evaluate these materials.

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The remaining sets of new evidence fall into two categories, witness affidavits and
exculpatory documents. Witnesses with whom we have spoken after trial have explained to the
defense that they did not come forward with their information prior to the conclusion of the trial
for fear of reprisal in Mexico, but that following the conclusion of the trial felt obligated to do so
in hopes of being able to remedy what they view as an unjust verdict against Mr. Garcia Luna.
Among the pieces of new evidence obtained by the defense are Mr. Garcia Luna’s daily agendas
or schedule while he was Secretary of Public Security that were prepared, kept, and utilized by
his secretaries and staff. These agendas show that from 2007 through 2012, among countless
other meetings with detailed attendee lists, Mr. Garcia Luna met with United States officials
approximately 186 times. This included 28 meetings with elected officials and dignitaries, 8
meetings with the United States Attorney General, a meeting with a Navy Admiral, 24 working
meetings with the United States Ambassadors to Mexico, 15 meetings with the CIA, 4 meetings
with the ATF, 12 meetings with United States Immigration and Customs Enforcement (“ICE”),
and 11 meetings with the Department of Homeland Security and other border security agencies.

Mr. Garcia Luna’s agendas also show approximately 50 meetings with the DEA, the
majority of which were with Joe Evans, then Regional Director for Mexico, Central America,
and Canada, including one meeting at the home of Mr. Evans.

The defense team is still reviewing the voluminous information provided from the above-
described sources and cannot rule out the possibility that as our review continues, we will
discover even more new evidence of Mr. Garcia Luna’s innocence. This new evidence will be
discussed in full below in each relevant section, all of which is attached to the de Castro

Declaration.

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RELEVANT LEGAL PRINCIPLES

Federal Rule of Criminal Procedure 33 provides that a district court may “vacate any
judgment and grant a new trial if the interest of justice so requires.” If the district court finds that
a manifest injustice would result if the guilty verdict were permitted to stand, it should vacate the
judgment and order a new trial. United States v. Ferguson, 246 F.3d 129, 134 (2d Cir. 2001). As
the Ferguson court poignantly stated, “[n]o harm and only good can come to our system of
justice where we require the government to supply competent, satisfactory and sufficient
evidence to prove an element of criminal liability. To let a verdict stand on anything less is
indeed a manifest injustice.” Jd. at 131.

While relief under Rule 33 should be exercised sparingly, the court still enjoys broad
discretion to set aside the verdict to avoid a miscarriage of justice. See id. at 133 (citing United
States v. Sanchez, 969 F.2d 1409, 1413 (2d Cir. 1992)). The court “must examine the entire case,
take into account all facts and circumstances, and make an objective evaluation.” Jd. at 134.

“The defendant bears the burden of proving that he is entitled to a new trial under Rule
33.” United States v. McCourty, 562 F.3d 458, 475 (2d Cir. 2009) (quoting Ferguson, 246 F. 3d.
at 134). After considering the arguments made by the defendant, “[t]he trial court must be
satisfied that ‘competent, satisfactory and sufficient evidence’ in the record supports the jury
verdict.” Jd. (quoting Sanchez, 969 F.2d at 1414). To answer that question, the trial court “must
examine the entire case, take into account all facts and circumstances, and make an objective
evaluation.” Id.

Critically, when considering a motion for a new trial, the trial court “need not view the
evidence in the light most favorable to the verdict; it may weigh the evidence and in so doing

evaluate for itself the credibility of the witnesses.” Tibbs v. Florida, 457 U.S. 31, 38 n.11 (1982)

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(quoting United States v. Lincoln, 630 F.2d 1313, 1319 (8® Cir. 1980)); see also United States v.
Bonventre, No. 10 Cr. 288 (LTS), 2014 U.S. Dist. Lexis 101304 at *12 (S.D.N.Y. July 24, 2014)
( “[i]n deciding whether to grant a Rule 33 motion, a judge may weigh the evidence and
determine the credibility of witnesses and is not required to view the evidence in the light most
favorable to the Government.”) (internal citations and quotation marks omitted).

One ground for filing a motion for a new trial under Rule 33 is newly discovered
evidence. See Federal Rule of Criminal Procedure 33(b)(1). The rule in this Circuit is that “[i]f
a motion for a new trial is based on new evidence, relief under Rule 33 based on newly
discovered evidence may be granted only upon a showing that (1) the evidence [was] newly
discovered after trial; (2) facts are alleged from which the court can infer due diligence on the
part of the movant to obtain the evidence; (3) the evidence is material; (4) the evidence is not
merely cumulative or impeaching; and (5) the evidence would likely result in an acquittal.”
United States v. Forbes, 790 F.3d 403, 406-07 (2d Cir. 2015) (internal citations and quotation

marks omitted).

Brady Materials Not Produced to the Defense

The government has a duty to disclose material evidence favorable to a defendant
pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Kyles v. Whitley, 514 U.S. 419 (1995), and
Federal Rule of Criminal Procedure 5(f). The Second Circuit articulated the Brady rule in
United States v. Coppa, 267 F.3d 132, 139 (2d Cir. 2001) as “a constitutional duty to disclose
favorable evidence to the accused where such evidence is ‘material’ either to guilt or to
punishment.” “Favorable evidence includes not only evidence that tends to exculpate the
accused, but also evidence that is useful to impeach the credibility of a government witness.” Id.

at 140. The focus is on whether the exculpatory and impeachment evidence, if suppressed,

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“would deprive the defendant of a fair trial.” Jd. at 135 (citing United States v. Bagley, 473 U.S.
667, 675 (1985)). The government has an affirmative duty to disclose exculpatory evidence
known to it even absent a specific request. See United States v. Agurs, 427 U.S. 97, 108-110
(1976); Bagley, 473 U.S. at 682.

“There are three components to a Brady violation: (1) the evidence at issue must be
favorable to the accused either because it is exculpatory, or because it is impeaching; (2) the
evidence must have been suppressed by the Government, either willfully or inadvertently; and
(3) prejudice must have ensued.” United States v. Li, No. 18 Cr. 302 (BMC), 2020 U.S. Dist.
LEXIS 203686, at *40 (E.D.N.Y. Nov. 2, 2020) (citing United States v. Rivas, 377 F.3d 195, 199
(2d Cir. 2004)).

Under the first prong of the Brady analysis, “evidence is ‘favorable’ to the defendant if it
undermines the Government’s proof or supports a valid defense, a universe that includes both
‘exculpatory information’ and ‘information that could be used to impeach government witnesses,
so-called Giglio material.’” United States v. Avenatti, No. 19 Cr. 374 (JMF), 2022 U.S. Dist.
LEXIS 28472, at *37 (S.D.N.Y. Feb. 15, 2022) (quoting United States v. Madori, 419 F.3d 159,
169 (2d Cir. 2005)). “Impeachment evidence is evidence ‘having the potential to alter the jury’s
assessment of the credibility of a significant prosecution witness’” and is, thus, considered
favorable. Madori, 419 F.3d at 170 (quoting United States v. Avellino, 136 F.3d 249, 255 (2d
Cir. 1998)). Brady impeachment evidence can be based on withheld information regarding the
illegal conduct of a government witness. “It is of course blackletter law that any illegal conduct
of a government witness can be considered probative of bias, on the theory that the witness is
likely to curry the favor of government attorneys[.]” Zi, 2020 U.S. Dist. LEXIS 203686, at *40-

41 (assuming that information concerning a witness’ unlawful immigration status satisfied the

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first component to an alleged Brady violation) (emphasis in original) (internal quotation marks
and citations omitted).

For the second prong of the Brady analysis, for the government to have “suppressed” the
information, they must have had knowledge of its existence. See Avellino, 136 F.3d at 255. “An
individual prosecutor is presumed to have knowledge of all information gathered in connection
with his office’s investigation of the case and has a duty to learn of any favorable evidence
known to the others acting on the government’s behalf in the case.” Jd. at 255-56. “In the
Second Circuit, a prosecutor’s constructive knowledge only extends to those individuals who [or
entities that] are ‘an arm of the prosecutor’ or part of the ‘prosecution team.’” United States v.
Meregildo, 920 F. Supp. 2d 434, 440-41 (S.D.N.Y. 2013) (quoting United States v. Gil, 297 F.3d
93, 106 (2d Cir. 2002)). However, the determination of who is and is not a member of the
prosecution team does not rely on any physical nexus with the prosecutors trying the case. See
United States v. Stewart, 433 F.3d 273, 298 (2d Cir. 2006) (“It does not turn on the status of the
person with actual knowledge, such as a law enforcement officer, prosecutor or other
government official. In other words, the relevant inquiry is what the person did, not who the
person is.”’)

“In determining whether another government entity acted as part of the prosecution team
for all or part of a given case, courts in this Circuit consider five primary factors: “whether the
other [entity] (1) participated in the prosecution’s witness interviews, (2) was involved in
presenting the case to the grand jury, (3) reviewed documents gathered by or shared documents
with the prosecution, (4) played a role in the development of prosecutorial strategy, or (5)

accompanied the prosecution to court proceedings.’” Avenatti, 2022 U.S. Dist. LEXIS 28472 at

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*30-31 (citing United States v. Middendorf, No. 18 Cr. 36 (JPO), 2018 U.S. Dist. LEXIS 139980,
at *4, (S.D.N.Y. Aug. 17. 2018)).

For the third prong of the Brady analysis, the Court needs to analyze whether there would
have been a “reasonable probability” that the defendant would have been acquitted had the
suppressed evidence been produced. See Kyles v. Whitley, 514 U.S. at 434. “Where the evidence
against the defendant is ample or overwhelming, the withheld Brady material is less likely to be
material than if the evidence of guilt is thin.” Gil, 297 F.3d at 103. Things like a deadlocked
jury, or multiple juror notes, should be considered to determine if the case was a close one. See
Zappulla v. New York, 391 F.3d 462, 471 (2d Cir 2004) (“Prosecution’s failure to disclose Brady
materials was not harmless error because the case against defendant was a close one, as shown in
part by the fact that the first jury deadlocked”). If the evidence was not overwhelming, the
suppressed evidence is all the more material. See Agurs, 427 U.S. at 113 (“[I]f the verdict is
already of questionable validity, additional evidence of relatively minor importance might be
sufficient to create a reasonable doubt”).

ARGUMENT

Point I
The Government Violated Its Brady Obligations By Failing
To Turn Over Exculpatory Documents In Its Possession
Directly Responsive To The Defense’s Brady/Rule 5(f) Demands
The government failed to produce to the defense DEA documents signed by Mr. Garcia
Luna, DEA Regional Director Joe Evans, and the Attorney General of Mexico that constitute
Brady material. These documents, or Letters of Understanding (“LOUs”) between the United

States and Mexico establish that, at the time of his alleged offenses, the United States

government performed extensive background investigations of Mr. Garcia Luna and his team.

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Mr. Garcia Luna and his team were thoroughly vetted and cleared of any wrongdoing by the
United States government on the precise issues of this trial. The defense has obtained a copy of
one of the LOUs memorializing these procedures. See de Castro Decl., Ex. C. The
government’s failure to disclose the LOU obtained by the defense, any previous and subsequent
LOUs, and all the materials generated by the United States government in its vetting process of
Mr. Garcia Luna and his team violated the government’s obligations under Brady and Rules 5(f)
and 16 of the Federal Rules of Criminal Procedure. The violation is especially egregious
because the defense specifically requested these materials from the government on April 15,
2022, nine months before trial. These materials would have been essential to the defense and
could have led to a different result.

The defense’s newly obtained LOU between the United States Department of Justice and
the Government of Mexico regarding the operation of the DEA’s SIU Program was signed on
January 27, 2011, by Mr. Garcia Luna as Mexican Secretary of Public Security, DEA Regional
Director Joe Evans, and Arturo Chavez Chavez as the Attorney General of Mexico. In the LOU,
the parties outline how members of the SIU in Mexico were vetted, including undergoing
polygraph tests by the United States, and training in Quantico, Virginia, that was funded by the
United States.

Section 1(b) of the LOU states that: “[p]Jotential public servants shall be certified by the
SSP and the PGR as honest and reliable persons, once they have successfully approves [sic] the
vetting process conducted by the corresponding Institution.” Jd. at 6. The LOU further states
that “such public servant shall take the following vetting process, which shall be guided by the

DEA, in coordination with other agencies, offices and departments”, and it mandates:

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a. Analysis of computer indexes such as the “Narcotics and Dangerous
Drugs Information System” of the DEA and the “National Crime
Information Center for Evidence of Human Rights Violations or Other
Derogatory Information”.

b. Urine Test to enter the SIU Program, emphasizing that the public servants
shall be subject to subsequent and random test during their assignment
thereof. Urine test which turn positive for illicit drug use in a potential
public servant or in the public servant participating in the SIU program
shall lead to his/her immediate non-acceptance or removal thereof.

c. Polygraph examination and background questionnaire to enter the SIU
Program, emphasizing that the public servants shall be subject to
subsequent and random test during their assignment thereof. The
deceiving; relevant negative results; or the use of counter measures during
the polygraph examination shall lead to the removal of the public servant
from the SIU Program. If there are justified or extenuating circumstances,
the Regional Director of the DEA may request a new test for that public
servant.

Id. at {2.

It is our understanding that multiple LOUs were signed between the SSP and the DEA,
covering different years, in connection with each new United States congressional appropriations
bill authorizing these programs and aid to Mexico — all of which would have been and still are
maintained by the DEA? and other United States Department of Justice (“DOJ”) agencies.
Furthermore, a newly discovered witness who served as one of Mr. Garcia Luna’s secretaries and
maintained his schedule, has declared that he/she and Mr. Garcia Luna underwent lengthy and
extensive polygraph examinations by members of the DEA. See de Castro Decl., Ex. D.

Applying the Brady analysis to the LOU establishes that the government violated its
obligations under Brady and Mr. Garcia Luna should be granted a new trial. Not only does the
LOU show that Mr. Garcia Luna was dedicated to fighting the cartels, it also demonstrates that

the United States government investigated and cleared Mr. Garcia Luna at the time of these

2 Saritha Komatireddy, the government’s lead prosecutor at Mr. Garcia Luna’s trial is in a prime position to confirm
this information. Since April 2023, Ms. Komatireddy has served as Chief of Staff for the DEA.

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alleged offenses regarding the very issues litigated in this trial. This document, along with the as
of yet undisclosed materials setting out the results of background investigations and polygraph
examinations of Mr. Garcia Luna and the members of the SIU, establish that the United States
government investigated potential connections between Mr. Garcia Luna and narco-trafficking
and concluded that he was not involved with the cartels. Surely the United States would not
have shared sensitive intelligence and national security information for years with someone that
was.

Furthermore, as Ambassador Wayne testified, there were rumors swirling in Mexico
about Mr. Garcia Luna’s purported involvement with the cartels, but he felt assured that
members of United States law enforcement had investigated those rumors and concluded they
were unfounded. The LOU makes clear that the United States had no basis to suspect Mr. Garcia
Luna of crimes because of its thorough vetting process at the time of the alleged misconduct —
information that would have been crucial for the jury to consider given the fact that years later
the government could offer virtually no corroboration for the cartel witnesses who themselves
were hunted by Mr. Garcia Luna.

With respect to the second prong of the Brady analysis, this exculpatory evidence was
clearly undisclosed by the government. Whether it was deliberate or inadvertent is irrelevant.
As part of its request to the government for all Brady/Rule 5(f) material, the defense requested
“t]he results of and all materials generated in connection with any and all background checks
concerning Mr. Garcia Luna, including but not limited to those conducted in advance of Mr.
Garcia Luna interacting with the below listed individuals around the below listed time periods,
conducted by the United States at any point during the years 2001 through 2012.” de Castro

Decl., Ex. A at 5-6. This letter was also annexed to the defense’s Motion to Dismiss and for a

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Bill of Particulars. See ECF No. 123 at Attachment “B”. The government responded that “[t]he
Prosecution Team does not possess any background checks conducted on the defendant in
advance of any meetings with U.S. government officials.” de Castro Decl., Ex. B.

That answer was insufficient. Clearly these documents exist and were in the possession
of the United States government. The prosecution team had an obligation to search for them.
Even the Department of Justice’s own training manuals recognize that prosecutors are obligated
to seek out exculpatory and impeachment information. Section 9-5.001(B)(2) of the DOJ Justice
Manual provides that under the law, federal prosecutors are obligated to seek exculpatory and
impeachment information from all law enforcement officers and other government officials
participating in the investigation and prosecution of the criminal case against a defendant.

DOJ Justice Manual 9-5.001, Policy Regarding Disclosure of Exculpatory and Impeachment
Information, details the policy prosecutors are required to follow to ensure that they fulfill their
“obligation both to disclose exculpatory and impeachment information to criminal defendants
and to seek a just result in every case.” JM 9-5.001(A). The comment to the policy explains that
“where it is unclear whether evidence or information should be disclosed, prosecutors are
encouraged to reveal such information to defendants or to the court for inspection in camera and,
where applicable, seek a protective order from the court. By doing so, prosecutors will ensure
confidence in fair trials and verdicts.” JM 9-5.001(A).

The prosecution team did not solely consist of prosecutors from the United States
Attorneys’ Office for the Eastern District of New York. The DEA spearheaded and led the
investigation into Mr. Garcia Luna and was an integral member of the prosecution team. The

government was obligated to ascertain from the DEA whether it possessed any exculpatory

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information concerning Mr. Garcia Luna even prior to the defense’s Brady demands, but
certainly once the demands were made specifically identifying such materials.

The existence of the LOU establishes that the government either knowingly withheld
exculpatory material from the defense or consciously avoided determining whether such
materials existed. Either scenario violates Brady and the DOJ’s own policies, resulting in a
conviction irrevocably tainted by injustice. Withholding this evidence prevented the defense
from questioning multiple government witnesses not only about Mr. Garcia Luna’s extensive
efforts to work openly with the United States but also and more importantly, about the fact that
Mr. Garcia Luna was trusted with highly sensitive information by the United States because he
was thoroughly vetted via comprehensive background investigations.

The government’s failure to produce these requested materials to the defense was a
violation of its obligations under both Brady v. Maryland and Rule 5(f), resulting in an unjust
conviction. A new trial pursuant to Rule 33 is required to remedy this manifest injustice.

Point
Newly Discovered Evidence Supports The Conclusion That The Government
Violated Its Brady Obligations By Withholding Information That Mr. Garcia
Luna’s Staff Was Also Vetted by And Provided Analysis For The CIA

The defense has obtained new evidence that Mr. Garcia Luna and different members of

his team (not the SIU) were separately vetted by the CIA. Documents related to his CIA vetting

and likely polygraph examinations would also constitute Brady material and should have been

obtained and turned over to the defense. As detailed above, during his tenure as Secretary of

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Public Security, Mr. Garcia Luna met with high-ranking members of United States law
enforcement regularly, including members of the CIA. See de Castro Decl., Ex. E.?

The written SSP agenda for that meeting, also recently obtained by the defense,
establishes that the parties discussed a group of 25 members of the SSP that were vetted by the
CIA and trained in both Washington D.C. and Mexico City, separate and apart from the SIU
group discussed in the LOU. See de Castro Decl., Ex. F. The meeting agenda highlighted how
this new group monitored the cartels to analyze them and share their analysis reports with the
CIA in Mexico.* This is not merely cumulative. It shows that Mr. Garcia Luna was trusted by
one of the most secretive and powerful organizations in the United States and is corroborated by
another piece of newly discovered evidence showing that Mr. Garcia Luna was trusted by the
CIA director himself, Leon Panetta. See de Castro Decl., Ex. G. Having members of his
department vetted by and working for the CIA explains why the United States government
trusted Mr. Garcia Luna with sensitive information and responsibilities, despite the rumors of
corruption in the Mexican government. Additionally, the defense recently spoke to another
member of Mr. Garcia Luna’s secretarial staff who managed Mr. Garcia Luna’s personal
calendar, who confirmed that even she/he was polygraphed by the DEA, CIA and received

training in the United States.

3 Tn an abundance of caution, because this document contains the names of members of the CIA that met with Mr.
Garcia Luna, we request that the exhibit to the de Castro declaration and one other similar exhibit be filed under
seal. We will provide those exhibits to the Court via Email. We see no reason why that information should not be
public, however, we ask that it be filed under seal to allow the government and the Court to consider whether that
information should be deemed sensitive and not be made available to the public at this time, or filed in redacted
form.

4 While the agenda of Mr. Garcia Luna’s meeting with the CIA is not being offered strictly as Brady material that
was in the possession of the United States, the fact that he had officers being vetted by, and working for the benefit
of, the CIA should have been disclosed under Brady. And any documents relevant to his vetting done by the CIA
should have been obtained and turned over to the defense. The meeting took place with a CIA delegation from the
United States Embassy in Mexico City. The Embassy is clearly an arm of the prosecution because, as the
government mentioned in its redirect examination of Ambassador Wayne, “‘it’s the U.S. Embassy in Mexico that
initiated this investigation”. TT at 1231.

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This newly discovered evidence is further direct proof that Mr. Garcia Luna was vetted
and trusted by the United States Government, and specifically the CIA. It also shows why he
was trusted by the United States — because it had thoroughly investigated the allegation and
rumors of his connections to the cartel and concluded they were unfounded. A new trial pursuant
to Rule 33 is required to remedy this manifest injustice and ensure that Mr. Garcia Luna was not

convicted of charges of which he is innocent.

Point II

The Government Violated Its Brady Obligations By Failing To Disclose Impeachment
Material In Its Possession Pertaining To A Critical Cooperating Witness

The government also committed a Brady violation by not providing the defense with
impeachment material about one of its cooperating witnesses, Hector Villarreal Hernandez. The
government’s failure to produce impeachment material in its possession showing that its sole
white-collar and nonviolent cooperating witness had substantial credibility issues and continued
to commit crimes while working as a government cooperator, violated Mr. Garcia Luna’s right to
a fair trial and led to an unjust result.

As described above in the Newly Discovered Evidence section, in February 2023,
following the conclusion of Mr. Garcia Luna’s trial, the Investigators reached out to Mr. Garcia
Luna’s defense team regarding trial witness Hector Villarreal Hernandez. The Investigators had
assisted the Official with the Official’s representation of Humberto Moreira Valdés, the former
governor for the Mexican state of Coahuila, against whom Mr. Villarreal Hernandez was also
cooperating. It is worth noting that the Official, whose Mexican government service overlapped
with Mr. Garcia Luna’s, was no friend of his and, in fact, often disagreed with him on important
matters with respect to the governance of Mexico. Following the Official’s service for the

Mexican government, the Official entered private law practice in Mexico. In this capacity, in or

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around 2022, the Official began representing Governor Moreira Valdés, and the Investigators
were members of the Official’s defense team.

During their representation of Mr. Moreira Valdés, the Official and the Investigators came
to believe that Mr. Villarreal Hernandez, who had served under Mr. Moreira Valdés’
administration in Coahuila, was a primary source of information for United States law
enforcement in its investigation(s) of Mr. Moreira Valdés. The Official and the Investigators
investigated Mr. Villarreal Hernandez’s personal and business financial dealings and discovered
that, during his time as a United States government cooperator, Mr. Villarreal Hernandez
engaged in criminal conduct, such as money laundering, that demonstrated his lack of credibility
and truthfulness. The investigation revealed, among other things, that Mr. Villarreal Hernandez
unlawfully used a bank account in the name of one of his father’s former employees to funnel
cash to the United States in order to support his lifestyle and United States business interests.
They also learned that he appeared to have received substantial cash deliveries in Texas from his
father in Mexico.

Understanding that the United States government’s investigation of him was being
conducted largely in Texas, Mr. Moreira Valdés hired local Texas counsel Robbie Lea Ward, a
former federal prosecutor, to advocate on his behalf and present to federal prosecutors the results
of the information learned about Mr. Villarreal Hernandez by his defense team which, in their
view, disqualified Mr. Villarreal Hernandez as a credible witness. Ms. Ward spoke with Assistant
United States Attorney for the Western District of Texas, Russell Leachman, and on or about
February 20, 2020, Ms. Ward’s secretary hand delivered a letter to AUSA Leachman in which
Ms. Ward detailed the results of the defense team’s investigation related to Mr. Villarreal

Hernandez. See de Castro Decl., Exs. H and I. Ms. Ward also attached exhibits and provided

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AUSA Leachman with a flash drive containing the investigatory information underlying the
details in the letter. See de Castro Decl., Ex. H at 16. Ms. Ward concluded the letter by
explaining:

All in all, the purpose of this proffer was to inform you of the illegal activities Mr.

Villarreal has continued to conduct while in the United States, and to show you how

much misinformation is reported regarding Mr. Moreira. His attorney in Mexico,

Spain and myself would like him to be able to continue with his life without

worrying that the false statements and crimes committed by others will be held

against him.
Id. at 17.
Mr. Moreira Valdés was never charged in the United States, a decision that appears likely to have
rested in part on Mr. Villarreal Hernandez’s lack of credibility.

In addition, in October 2022, prior to Mr. Garcia Luna’s original scheduled trial date, the
Official was contacted by Texas DSAC and trial witness Miguel Madrigal. The Official told
DSAC Madrigal, with whom the Official had worked in the past, that the Official was going to
be in Houston later in October 2022. DSAC Madrigal suggested that they see each other to say
hello and for the Official to meet the DEA Special Agent in Charge (“SAC”) for Texas, Daniel C.
Comeaux. In late October 2022, the Investigators drove the Official to the Houston DEA office.
The Official met with DSAC Madrigal in his office but did not meet SAC Comeaux who,
contrary to DSAC Madrigal’s insinuation, did not know about the Official’s visit and was not
even in Houston that day.

During their meeting, the Official discussed with DSAC Madrigal the Official’s
frustrations with the government investigation against Mr. Moreira Valdés, and in particular, that
it appeared to be based on information from Hector Villarreal Hernandez. The Official informed

DSAC Madrigal that Mr. Moreira Valdés’ defense team had learned that Mr. Villarreal

Hernandez appeared to be engaged in money laundering while a government informant and that

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he was an unreliable, untruthful, and incredible witness who could not be trusted. The Official
mentioned to DSAC Madrigal that Mr. Moreira Valdés hired local counsel who had provided the
results of their investigation into Mr. Villarreal Hernandez to Texas federal prosecutors. The
Official offered to show DSAC Madrigal documents that demonstrated Mr. Villarreal
Hernandez’s money laundering activities and other criminal conduct, but Agent Madrigal did not
accept the Official’s offer.

The Official felt like DSAC Madrigal had no interest in learning more details about the
investigation into Mr. Villarreal Hernandez, and indeed appeared to become visibly nervous
during their conversation. His face blushed and he grew uneasy in his chair, which the Official
found to be odd. DSAC Madrigal also quickly changed the subject and did not bring it up again.
Upon information and belief, the Official traveled back from the meeting via a ride share taxi
ordered and paid for by DSAC Madrigal personally or the DEA.

After the conclusion of Mr. Garcia Luna’s trial, the Investigators reached out to the
defense because they and the Official were shocked to learn that the United States government
had called Mr. Villarreal Hernandez as a key witness against Mr. Garcia Luna and had relied on
any information provided by him. The Investigators were also astonished to learn that the
government did not disclose to the defense the impeachment evidence that Mr. Moreira Valdés’s
team had given to the United States Attorney’s Office for the Western District of Texas in 2020,
and of which Agent Madrigal had been specifically made aware in October 2022. The
government’s failure violated Brady because, as this Court has previously found, evidence of
illegal conduct of a government witness is impeachment material that satisfies the first
component needed to establish a Brady violation. See United States v. Li, No. 18 Cr. 302

(BMC), 2020 U.S. Dist. LEXIS 203686, at *40-41 (E.D.N-Y. Nov. 2, 2020).

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The Eastern District’s investigation of Mr. Garcia Luna was intertwined with the
Southern and Western Districts of Texas. As 3500 material for Mr. Villarreal Hernandez showed,
Eastern District of New York prosecutors attended proffers and trial prep sessions of Mr.
Villarreal Hernandez conducted in the Western District of Texas. See 3500-HJVH-24, 25. Mr.
Villarreal Hernandez was arrested in the Western District of Texas on February 13, 2014.
(Criminal docket for United States v. Villarreal Hernandez, 14 Cr. 100 (XR)). DEA Special
Agents Reed Esterak and James Cain, together with AUSA Russell Leachman, to whom the letter
from Ms. Ward was addressed, conducted interviews of Mr. Villarreal Hernandez in the Western
District of Texas within months of his arrest, during which Mr. Garcia Luna was discussed. See
3500-HJVH-8 at 96. Special Agent Cain was also present for Mr. Garcia Luna’s arrest and post-
arrest interview, which both took place in the Western District of Texas. See 3500-IC-8. And
Special Agents Cain and Esterak, Texas stationed agents, were also present for preparation
sessions with Mr. Villarreal Hernandez for Mr. Garcia Luna’s trial conducted by Eastern District
of New York prosecutors. See 3500-HJVH-24, 25, 28, 29, 30, 31.

In addition, federal agents stationed in Texas must have been involved in presenting the
case to the grand jury,° and federal prosecutors from Texas undoubtedly shared documents with
prosecutors from the Eastern District.®

Furthermore, in or around October 2022, the existence of the Brady material concerning
Mr. Villarreal Hernandez was directly communicated to trial witness and prosecution team

member DSAC Madrigal. From November 30, 2022, to December 19, 2022, after receiving the

5 Mr. Garcia Luna was charged with making false statements in his post arrest statement. While the defense is not in
possession of the grand jury minutes, it is only logical that one of the members of the DEA present at his arrest
presented these statements to the grand jury.

® AUSA Leachman was likely the Eastern District of New York’s point of contact in the Western District of Texas.
Either he or agents stationed in Texas must have provided the Eastern District of New York with the file on Mr.
Villarreal Hernandez that was turned over to the Defense as 3500 material.

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information about Mr. Villarreal Hernandez’s illegal activity, DSAC Madrigal met with
prosecutors in the Eastern District of New York five times to review additional documents that he
had shared with them, in addition to the more than 100 DEA-6 reports he had already shared. In
these meetings DSAC Madrigal provided his narrative on the climate in Mexico when he was
stationed there. See 3500-MM-156. There is no question that he was a member of the
prosecution team, thus satisfying the third factor articulated in Avenatti (i.e., reviewing
documents gathered by or sharing documents with the prosecution).

Prosecutors had no excuse for failing to disclose this Brady material to the defense.
Either the prosecution team possessed the impeachment information and made the affirmative
decision not to disclose it, or it failed in its duty to inquire from its law enforcement witnesses
and DOJ partners whether such information existed. Either way, this failure satisfies the second
prong required for a Brady violation.

The cross examination of Mr. Villarreal Hernandez was curtailed because the defense did
not have a good faith basis to impeach his credibility by cross-examining him about his
continued criminal activity. Mr. Villarreal Hernandez was the only cooperating witness who was
either not a cartel member or someone who had aided the cartel through monstrous acts of
violence. He was a government official without the same kind of baggage the government’s
other cooperating witnesses carried and was, thus, a crucial witness. Moreover, his testimony
was not supported by other corroborative evidence, which made his credibility central.

Armed with the newly discovered Brady impeachment evidence and the new evidence
obtained regarding his perjury (detailed below), the defense would have been able to completely
discredit Mr. Villarreal Hernandez. Mr. Villarreal Hernandez was an extremely important

witness to the government’s case. For one, it used him to support the uncorroborated tale of Mr.

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Garcia Luna’s kidnapping by cartel members. Mr. Villarreal Hernandez also offered testimony
on how government officials hid money using patrimony statements, even though he had no
personal knowledge about Mr. Garcia Luna’s finances or whether this was done by him.

By depriving the defense of its ability to demonstrate that Mr. Villarreal Hernandez was a
lying, corrupt, politician who continued to commit crimes even while working with the United
States, the government impaired Mr. Garcia Luna’s right to a fair trial. The government’s Brady
violation tainted Mr. Garcia Luna’s conviction, and pursuant to Rule 33, this Court should vacate
the conviction and order a new trial.

Point IV
Newly Discovered Evidence Proves Hector Villarreal Hernandez Committed Perjury

Newly discovered evidence conclusively establishes that Mr. Villarreal Hernandez
testified falsely about material and critical trial facts. This new evidence demonstrates that Mr.
Villarreal Hernandez testified falsely that: (1) he facilitated a bribery scheme whereby Mr. Garcia
Luna bribed a national newspaper for favorable stories; (2) he met with Mr. Garcia Luna in 2008;
(3) he met with Mr. Garcia Luna and toured the “Bunker” in January 2009; and (4) he was shown
Pegasus software by Mr. Garcia Luna during his “Bunker” visit. Permitting Mr. Garcia Luna’s
conviction to stand based on this demonstrably false testimony would result in a manifest
injustice.

1. Mr. Villarreal Hernandez Falsely Testified That He Facilitated Mr.
Garcia Luna’s Bribery Of El Universal Newspaper

One of the primary reasons Mr. Villarreal Hernandez was called as a witness by the
government was his testimony that Mr. Garcia Luna asked Governor Moreira Valdés to introduce
him to the governor’s good friend, the publisher of El Universal, a widely read newspaper in

Mexico. According to Mr. Villarreal Hernandez, the purpose of the introduction was to allow

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Mr. Garcia Luna to bribe the publisher to suppress negative stories about the alleged cartel
kidnapping of Mr. Garcia Luna. This testimony was crucial for the government because it
purportedly corroborated the kidnapping story advanced by other witnesses and suggested some
consciousness of guilt on the part of Mr. Garcia Luna. New evidence obtained by the defense,
however, establishes that this entire testimony by Mr. Villarreal Hernandez was false.

Mr. Villarreal Hernandez testified that his boss, Governor Moreira Valdés, could broker a
deal between Mr. Garcia Luna and the governor’s good friend, Juan Francisco Ealy Ortiz, the
owner of El Universal newspaper. However, as newly acquired copies of Mr. Garcia Luna’s
schedules and photographs make clear, Mr. Garcia Luna already had a longstanding and close
relationship with the owner of El Universal well before any alleged meeting with Mr. Villarreal
Hernandez. Mr. Garcia Luna did not need an introduction. In fact, Mr. Garcia Luna met with
Mr. Ealy Ortiz numerous times before 2009, when Mr. Villarreal Hernandez claims Mr. Garcia
Luna needed a contact at the newspaper. Furthermore, Mr. Garcia Luna met with other members
of El Universal capable of controlling content, again well before Mr. Villarreal Hernandez claims
that Mr. Garcia Luna needed their help. Below is a summary chart of the meetings between Mr.
Garcia Luna and Mr. Ealy Ortiz or other members of El Universal from 2007 through 2012, as

memorialized in Mr. Garcia Luna’s schedules:

Date Meeting Title Location Time

5/9/2007 Meeting with Juan Israeli Sports Center | 2.5 hours
Francisco Ealy Ortiz

5/16/2007 Lunch with Juan Bucareli No 8, corner | 2.5 hours
Francisco Ealy Jr. Av. Paseo de la

Reforma, Col. Centro
Del. Cuauhtémo

12/4/2007 Lunch with Restaurant The Palm | 3.5 hours
Raymundo Riva of Hotel Presidente
Palacio Editorial Intercontinental
Director of El
Universal

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Date Meeting Title Location Time
3/3/2008 Meeting with Juan Constituyentes 30 minutes.
Francisco Ealy Jr.
4/2/2008 Lunch with Constituyentes 2 hours
Raymundo
Rivapalacio Editorial
Director of El
Universal
4/17/2008 Private Dinner with Newspaper facilities | 2 hours
Juan Francisco Ealy, | El Universal
Jr.
7/2/2008 Lunch with The Palm Restaurant, | 2 hours
Raymundo Riva Inside the hotel
Palacio, Editor of Intercontinental
Director of El
Universal
10/23/2008 Meeting with Constituyentes 1 hour
Raymundo
Rivapalacio Editorial
Director of El
Universal
2/5/2009 Lunch with Juan Constituyentes 2 hours
Francisco Ealy Ortiz
3/3/2009 Meeting with Juan Constituyentes 1 hour
Ealy Ortiz and
Roberto Rock, editor
of El Universal.
4/2/2009 Meeting with Constituyentes 2 hours
Raymundo
Rivapalacio, Editorial
Director of El
Universal
10/23/2009 Dinner Honoring Hotel Four Season 3 hours
Juan Franciso Ealy
Ortiz
9/28/2010 Lunch with Juan Restaurant Jin San 2 hours
Francisco Ealy Shabu Sabur
3/2/2011 Lunch with Juan Restaurant Jin San 3 hours
Francisco Ealy Ortiz | Shabu Sabur
and Engineer Joel
Ortega Cuevas
5/21/2011 Dinner honoring Juan | Via Reforma Park Started at 4:30
Francisco Ealy Ortiz | No.
2138, Lomas de
Chapultepec

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Date

Meeting Title

Location

Time

6/17/2011

Lunch with Editorial
Directors of the
Newspaper “El
Universal”

Attend

*Roberto Rock,
Editorial Director
«David Aponte,
Deputy Editorial
Director

*Francisco Santiago,
Deputy Editorial
Director

«Alejandro Jiménez,
Deputy Director of
Opinion

*Carlos Benavides,
Justice Coordinator

Constituyentes

3 hours

10/7/2011

Gala of 95"
Anniversary of El
Universal

College of San
Ignacio of Loyola
Vizcainas

3 hours

5/8/2012

Lunch with Juan
Francisco Ealy

Constituyentes

1 hour

See de Castro Decl., Ex. J. Furthermore, photographs show Mr. Garcia Luna and Mr. Ealy Ortiz

together in which the friendship is clear. See de Castro Decl., Ex. K.

In addition, counsel for El Universal has provided an affidavit that unequivocally

debunks the alleged bribes alleged by Mr. Villarreal Hernandez. See de Castro Decl., Ex. L. The

affidavit also confirms that the relationship between Mr. Ealy Ortiz and Mr. Garcia Luna

predated the alleged introduction by Governor Moreira Valdés in early 2009. Finally, the

affidavit cites numerous negative articles by El Universal about Mr. Garcia Luna, both before

and after the alleged bribes that, according to Mr. Villarreal Hernandez, were intended to ensure

good press. Accordingly, Mr. Villarreal Hernandez’s testimony regarding the alleged bribe

payments to El Universal was false.

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2. Mr. Villarreal Hernandez Did Not Meet with Mr. Garcia Luna In 2008 To
Review Security Project Allocations

Mr. Villarreal Hernandez testified that he met with Mr. Garcia Luna in 2008 to review
security project allocations for the Mexican State of Coahuila. See TT at 1146. Mr. Garcia
Luna’s newly discovered schedules show that, while Mr. Garcia Luna met with Governor
Moreira Valdés on September 25, 2008, Mr. Villarreal Hernandez was not present. Mr. Garcia
Luna’s schedules are very specific and would generally include all the attendees at meetings. See
de Castro Decl., Ex. M for examples of Mr. Garcia Luna’s schedule listing meeting participants.
A review of Mr. Garcia Luna’s September 25, 2008 schedule, shows that Governor Moreira
Valdés was accompanied by five other named officials, but not Mr. Villarreal Hernandez. Most
importantly, Mr. Villarreal Hernandez does not appear as an attendee for any meetings in Mr.
Garcia Luna’s schedule. Accordingly, Mr. Villarreal Hernandez’s testimony that he met with Mr.
Garcia Luna in 2008 was likely false, a conclusion that is only bolstered by the irrefutable

evidence of Mr. Villarreal Hernandez’s falsehoods described above and below.

3. The “Bunker” Did Not Exist When Mr. Villarreal Hernandez Claimed To
Have Toured It Tith Mr. Garcia Luna

Mr. Villarreal Hernandez testified that the second time he met Mr. Garcia Luna was in the
beginning of 2009 at the “Bunker,” the well-publicized high-tech SSP command center in
Mexico City. TT at 1147. Mr. Villarreal Hernandez testified that he accompanied Governor
Moreira Valdés to Mexico City for this tour and meeting. However, the “Bunker” had not yet
been built in the beginning of 2009. The “Bunker” was not completed until November 2009,
more than ten months after Mr. Villarreal Hernandez claimed to have been there. News reports
and video footage of the opening of the “Bunker” establish that it was inaugurated on November

24, 2009. Mr. Garcia Luna’s schedule confirms this, as does a document obtained by the defense

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including highlights of that day. See de Castro Decl., Exs. N (schedule) and O (highlights).
Furthermore, Internal United States State Department cables from August 2009, provide that the
“Bunker” was anticipated to open in September 2009, taking six months from groundbreaking to
opening. See de Castro Decl., Ex. P. Groundbreaking for the “Bunker” could, at the earliest,
have commenced in March 2009. It is therefore impossible for Mr. Villarreal to have been given
a tour of a high-tech, state of the art facility, in January 2009. Mr. Villarreal Hernandez’s

testimony about his meeting at the "Bunker” was, therefore, also false.

4. Mr. Villarreal Hernandez Falsely Testified That Mr. Garcia Luna
Demonstrated Pegasus While In The Bunker

Mr. Villarreal Hernandez also testified that during the tour of the Bunker in the beginning
of 2009, Mr. Garcia Luna showed him the controversial software Pegasus, gave a demonstration
of the software’s capabilities, and offered to sell the technology to Mr. Villarreal Hernandez and
Governor Moreira Valdés. See TT at 1147-58. Newly discovered evidence establishes that Mr.
Villarreal Hernandez falsely testified about this as well. The company that created Pegasus did
not even exist when Mr. Villarreal testified that he was offered an opportunity to buy it in 2009.
NSO Group, the creator of Pegasus, was formed a year later in 2010. See de Castro Decl., Ex. Q.
The NSO Group report states that the “NSO Group was founded in 2010 with one key mission;
to make the world a safer place by assisting lawful investigations by state authorities to protect
the security and safety of citizens against major crimes and terrorism.” Jd. The first iteration of
Pegasus was reportedly not completed until 2011. See de Castro Decl., Ex. R. Newly discovered
evidence also establishes that the government of Mexico, the first purchaser of the software from
NSO, did not buy Pegasus until July 2011, and it was first installed in Mexico in September
2011. See de Castro Decl., Ex. S. Additionally, the SSP did not purchase Pegasus. It was

purchased by the PGR and the Secretariat of National Defense (““SEDENA”). See de Castro

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Decl., Exs. S and T. Accordingly, Mr. Villarreal Hernandez also falsely testified that Mr. Garcia
Luna showed him Pegasus.

In summary, the defense learned after the conclusion of the trial that a central government
witness committed crimes while he worked as a cooperator — evidence of which the government
failed to disclose — and it learned that this witness lied about material and crucial elements of his
testimony.’ In other words, a witness relied upon by the government as a cornerstone of its case
against Mr. Garcia Luna in fact lacked all credibility. The defense was unable to confront Mr.
Villarreal Hernandez with evidence of his lies. If it had, it is likely that the jury would have
rejected his testimony, and without him the case against Mr. Garcia Luna was significantly
weaker. Accordingly, the combination of the government’s Brady violations with the newly
discovered evidence should persuade the Court that a manifest injustice occurred, resulting in a

new trial.

Point V

Newly Discovered Evidence Proves Francisco Cafiedo Zavaleta
Committed Perjury and Did Not Witness Mr. Garcia Luna’s Kidnapping

Since the trial, the defense has discovered new evidence that establishes that at the
precise date and time that Mr. Cafiedo Zavaleta clatmed Mr. Garcia Luna was in the custody of
the BLO, he was, in fact, in Angeles Hospital in Mexico City with his wife, paying a hospital bill
and accompanying her home after surgery. Mr. Cafiedo Zavaleta’s false testimony warrants a

new trial.

7 As discussed above, despite multiple attempts by the defense prior to the trial to obtain information from certain
individuals in Mexico, it was only after the conclusion of the trial that those individuals agreed to provide
information and documents to the defense, including Mr. Garcia Luna’s schedules that now refute Mr. Villarrael
Hernandez’s testimony. Likewise, after the conclusion of the trial El Universal issued editorials uncovering the
numerous lies contained in Mr. Villarreal Hernandez’s testimony. This prompted the defense to reach out to them
and ultimately obtain the affidavit.

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A central thread that ran through the government’s case against Mr. Garcia Luna was the
allegation that he had been kidnapped by cartel members. This was supposed to show that he
was in the employ — and at the mercy of — the cartel. Although several cartel witnesses offered a
variety of differing accounts about this alleged event, the most powerful evidence came from
Francisco Cafiedo Zavaleta, a federal police officer in Mexico, who testified that he personally
witnessed Mr. Garcia Luna and his security detail being held at gunpoint on the side of the road
between Mexico City and Cuernavaca by Arturo Beltran Leyva and his cartel soldiers.
According to Mr. Cafiedo Zavaleta, this gun-point seizure occurred on October 19, 2008, at
around 12:00 p.m. See TT at 1091.

New evidence obtained by the defense now proves that Mr. Cafiedo Zavaleta committed
perjury and supports the defense theory that Mr. Cafiedo Zavaleta’s false claims were likely part
of a political strategy to discredit Mr. Garcia Luna and his attempts at unifying federal police
agencies and imposing stricter standards on federal police officers. The new evidence
establishes that at 12:28 p.m. on October 19, 2008, Mr. Garcia Luna was not being kidnapped
and detained by Arturo Beltran Leyva on the side of the road more than two hours away from
Mexico City, but he was with his wife at Angeles Del Pedrigal Hospital in Mexico City, signing
her discharge paperwork and accompanying her home after a one-night stay in the hospital
following a brief surgery. See de Castro Decl., Ex. U. This hospital paperwork shows that Mr.
Garcia Luna’s wife, Cristina Pereyra Galvez, was admitted at 11:53 a.m. on October 18, 2008,
and Mr. Garcia Luna was with her as the Responsible Party. The next day, on October 19, 2008,
she was discharged at 12:28 p.m., with Mr. Garcia Luna again signing her out as the Responsible
Party. Additionally, also on October 19, 2008, Mr. Garcia Luna paid the hospital bill with his

credit card. See id.

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The hospital documents establishing that Mr. Garcia Luna could not have been kidnapped
on October 19, 2008, do not constitute the only new evidence undermining Mr. Cafiedo
Zavaleta’s credibility. For example, Mr. Garcia Luna’s bodyguard from March 2, 2009, through
December 31, 2012, Jose Jorge Rincon Namorando, swears in an affidavit that Mr. Garcia Luna
and his security detail always took the Mexico-Cuernavaca highway from Mexico City to
Jiutepec, Morelos, and never used the road going to Cuautla, Morelos, where Mr. Cafiedo
Zavaleta insisted he saw Mr. Garcia Luna with Arturo Beltran Leyva. See de Castro Decl., Ex. V.
Mr. Rincon Namorando also attests that Mr. Cafiedo Zavaleta was never a member of Mr. Garcia
Luna’s security detail or even a member of the Federal Police Security Department. Jd. Now
knowing that staff of the Mexican Attorney General’s office did not provide security to Mr.
Garcia Luna’s office, Mr. Cafiedo Zavaleta’s perjury is all the clearer. Mr. Cafiedo Zavaleta’s
Institute for Social Security and Services for State Workers (“ISSSTE”) document proves that he
was never a member of the SSP, and as thus, would not have provided security at Mr. Garcia
Luna’s office. See de Castro Decl., Ex. W; see also Ex. V and compare with Rincon ISSSTE.

Another witness who emerged after the trial is ee. one of Mr. Garcia
Luna’s main secretaries from 2005 through 2012. ee establishes that Mr.
Cafiedo Zavaleta also falsely testified regarding his access to Mr. Garcia Luna (presumably to
establish that he could recognize him) at SSP headquarters. Like Mr. Rincon Namorando, im
a “was reluctant to be involved, especially living and working in Mexico.
However, after following the trial in the media and Mr. Garcia Luna’s unjust conviction in my
view, I agreed to become involved to provide his defense team with any information I could”.
See de Castro Decl., Ex. D at f]1-2. In his/her affidavit, ee attests to the

following facts: (1) Mr. Garcia Luna’s office was in the SSP headquarters, as was his/hers; (2)

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law enforcement officers employed by the SSP were in charge of the security and protection for
the offices in the building; (3) individuals not employed by the SSP would not be a part of the
security for the building; and (4) he/she has never heard of Mr. Cafiedo Zavaleta and did not
recognize his picture, which he/she would have had he worked as a security guard in the building
where his/her office was located for many years. /d. at JJ 6-12.

As noted, the alleged kidnapping was a crucial piece of the government’s case because it
purported to provide a direct connection between Mr. Garcia Luna and the cartels. See TT at
1801-2, 1804, 1821, 1904-5. Mr. Cafiedo Zavaleta was the sole witness to testify about the
kidnapping who did not testify pursuant to a cooperation agreement and was not involved in
massive narcotics trafficking, murder, torture, and/or corruption. The government harped on this
point in its summation:

And then the defendant gets kidnapped. That term, kidnap, is a little odd. That's

what Grande called it. Because -- but you heard the whole story. You heard it

from various perspectives, and you heard it from someone who actually saw it.

Arturo had the defendant and his bodyguards detained on the side of the road.

And you heard that from the police officer who was driving that day on that road,

a police officer who knew what Arturo Beltran and Barbie looked like, and who

knew what Genaro Garcia Luna looked like because he worked for him closely,

and saw it and remembered it. Officer Francisco Canedo Zavaleta. Now, you

remember his testimony. It was very detailed. It was very precise. He was very

literal. I submit to you that that is a hallmark of truth telling. He was very literal.
He cared a lot about getting it right, which road, which stop. And he remembered

everything.
TT at 1801-02.

At trial the defense tried to show that Mr. Cafiedo Zavaleta’s testimony was false and
came from an unstable and unreliable witness with a grudge against Mr. Garcia Luna. But the
defense had one arm tied behind its back. The newly discovered evidence now proves that every
aspect of Mr. Cafiedo Zavaleta’s testimony from how he claimed to have familiarity with Mr.

Garcia Luna to his account of the alleged kidnapping itself was false. Mr. Cafiedo Zavaleta was

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a critical witness who, as it now turns out, lied to the jury about a crucial part of the case. Being
able to demonstrate that the sole alleged eyewitness to the kidnapping provided perjured
testimony would likely influence the jury to discredit his testimony in its entirety and result in an
acquittal. This new evidence should cause this Court to vacate his conviction and order a new
trial.

Point VI

Newly Discovered Evidence Proves Cooperating Witnesses Communicated
With One Another Prior To Trial Contradicting Testimony By Government
Witnesses And Arguments Made In The Government’s Summation

The defense has now obtained evidence that government cooperating witnesses
communicated with one another on contraband telephones while incarcerated, directly
contradicting a critical government argument in defense of its cooperators. The defense has also
obtained evidence from Mexico establishing that as early as 2009, members of the cartel were
conspiring to frame Mr. Garcia Luna by having individuals falsely testify that El Chapo had paid
Mr. Garcia Luna a substantial bribe on a boat. This new evidence explains how and why the
government’s cooperators could testify about fabricated events in an arguably similar manner
and supports a conclusion that Mr. Garcia Luna was unjustly convicted.

Following the trial, an inmate at the MDC named contacted the defense.
Before his approach, the defense did not know of the existence of a and had no

knowledge of the information he could provide. a swore in an affidavit that he was, at

times, housed with important trial witness Edgar Veytia, as well as Juan Carlos Nava Valencia

8 For fear of reprisal, as he is housed at the same jail as Mr. Veytia and others are housed, we are requesting that this
inmate’s name be redacted in the public filing of this motion.

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a.k.a. “El Tigre” (the brother of trial witness Oscar Nava Valencia).? See de Castro Decl., Ex. X.
Oscar Nava Valencia claimed El Tigre accompanied him to a meeting with Mr. Garcia Luna. In
his affidavit MM describes his time with Mr. Veytia and El Tigre, and how they would
communicate with Oscar Nava Valencia through contraband cellular telephones. This came at a
time when the Warden of the MDC had to issue a memorandum outlining the ongoing problem
of contraband cellular telephones in the facility. See de Castro Decl., Ex. Y. a
affidavit also describes conversations with El] Tigre and Mr. Veytia in which they discussed their
plans to return to narcotrafficking after their release.!° Specifically, Mr. Veytia concocted a plan
to cooperate with the government to get his sentence reduced because the prosecutors “are stupid
and will believe anything I say.” See de Castro Decl., Ex. X at 2. In the same conversation,
when talking about testifying against Mr. Garcia Luna, Mr. Veytia told i: “fuck GGL,
I’m going to screw him.” Jd. at 2.

At a minimum, the contents of a affidavit would have been used to cross
examine both Mr. Veytia and Oscar Nava Valencia about their communications with other
witnesses while incarcerated, and their communications with other drug traffickers using
contraband cellphones. The contents of a: affidavit would also have been used against
Mr. Veytia on cross examination to show his motive to lie to the government and his belief that

he could get away with it, along with his animosity towards Mr. Garcia Luna and his motive to

frame him. Of course, the defense could have also called to testify at trial.

° Oscar Nava Valencia testified that he allegedly personally bribed Mr. Garcia Luna at a carwash in Guadalajara in
2008. Guadalajara is a six-hour drive from Mr. Garcia Luna’s office in Mexico City. Mr. Garcia Luna’s schedules
show that he was never in Guadalajara in 2008, or ever, from 2007 through 2012.

10 Additionally, on October 6, 2023, the government disclosed to the defense that it was turning over two of Mr.
Veytia’s cellphones and a SD card that was seized upon his arrest in 2017. These devices consist of multiple
terabytes of data, and as such, the defense has been unable to explore the extent of Mr. Veytia’s drug dealing prior to
his arrest.

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As the Court knows, the cartel leaders and members who testified against Mr. Garcia
Luna were all massive criminals who killed, tortured, kidnapped, and raped without a second
thought. Yet the case against Mr. Garcia Luna was almost exclusively built by these cooperating
witnesses, who were all looking for substantial reductions to their sentences. The only way the
government could bolster the credibility of these men was to suggest that they had to be telling
the truth because how could their stories otherwise align when they had not seen or spoken to
each other in over a decade. The government repeatedly made this point in summation: “[With
the exception of Messrs. Zambada Garcia and Poveda Ortega being transported together] no
other witness has talked to each other. By some fluke, these guys ended up in a transit van
together from prison one day, and they had a 20-minute conversation. ... Even though they are
apparently friends now, there's no coordination here. It's just not there.” TT at 1800. The
government specifically called Special Agent Dietz to try to drive this point home, “Special
Agent Dietz told you about how witnesses are handled by the Government. They're separated,
they don't meet other witnesses, they don't see the evidence that other people provide.” TT at
1902. And when explaining to the jury why the cooperators should be believed, prosecutors
stated that “[t]hey have to tell the truth because otherwise, their cooperation is ripped up. And it
would be very foolish for them to come in and lie to you, because they have no idea what the
other witnesses are going to say.” TT at 1908.

a ’s affidavit destroys the government’s central argument. He makes clear that
not only was the government’s claim that the cooperators did not talk a complete fiction, he
establishes that they affirmatively plotted to coordinate their stories and make plans for a narco-
trafficking future. This new evidence shows that the government’s case was built on lies by

these cartel leaders and suggests that Mr. Garcia Luna was likely unjustly convicted.

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The second piece of new evidence showing the cartels’ willingness to frame Mr. Garcia
Luna comes in the form of an intercept and report detailing just this — cartel members conspiring
to falsely attest that they had bribed Mr. Garcia Luna. The Mexican Attorney General’s Office
intercepted communications of an inmate and forwarded it to Mr. Garcia Luna’s office to warn
him. In intercepted jail communications that were transcribed by the Attorney General’s Office,
this inmate told his mother that if she did not provide Mexican authorities testimony that Mr.
Garcia Luna was corrupt, they would be killed by the same people that had filed the complaint
against the inmate, because these people “want to fuck over Garcia Luna”. de Castro Decl., Ex.
Z. Specifically, the inmate stated that he was being pressured to lie to the authorities and tell
them a story that “Garcia Luna and I met on a yacht where I handed him, Garcia Luna, three
million dollars, ‘cause those are the people who’ve filed the complaint and want me to finger
Garcia Luna . . . as the person who took delivery of those three million dollars from drug
trafficking from me, and that it came from El Chapo Guzman”. Jd. According to this inmate, his
mother needed to tell the authorities this “because if I don’t testify against Garcia Luna they’re
going to kill you guys.” See id. at 3.

The plot to frame Mr. Garcia Luna would also corroborate i affidavit that drug
traffickers had a reason to testify falsely in order to purposefully damage Mr. Garcia Luna. This
is not simply impeachment. It is direct evidence of the cartels’ plan to testify falsely against Mr.
Garcia Luna to exact revenge against the man who fought them for so many years. Evidence of
cooperator communications through contraband cellular telephones and evidence of plots by the
cartels to frame Mr. Garcia Luna would have supported the defense and affected the verdict. If it
had been available before trial, it would have helped prove that the government’s cooperators

had reason to, and did, testify falsely. This important new evidence warrants a new trial.

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Point VII
Newly Discovered Evidence Establishing Multiple Nondisclosure
Violations By The Government Supports Renewed Consideration
Of The Missing Jesus Zambada Garcia 3500 Material
Before Mr. Zambada Garcia testified, the defense complained that it had received proffer
notes as part of 3500 material from only 69 proffer meetings, even though Mr. Zambada Garcia
had met with the government at least 118 times. See ECF No. 216; TT at 1440-48. In response,
the government acknowledged the existence of the meetings and the discrepancy but claimed
that “the majority of the meetings that Mr. de Castro is referencing happened before the Chapo
trial,” and were, therefore, trial preparation meetings. TT at 1443. However, of the 701!
meetings for which 3500 material was produced, only 11 indicate they were for trial preparation
sessions — and even during those meetings some notes were taken. Crediting the government’s
representations to the Court, that would mean that there were 59 trial preparation sessions for
Mr. Zambada Garcia and that only 11 of them were memorialized with notes.

In light of the disclosure violations uncovered since the trial, the government’s failure to

produce 3500 material for almost 50 meetings with Jesus Zambada Garcia, should be

simply not credible that there would have been close to 50 reported meetings with a cooperating
witness of this significance during which no one took notes. This conclusion is supported by the

sheer volume of notes produced from other key cooperator meetings, where, in many cases, the

1 As previously mentioned, it turns out that 70 meetings took place for which notes were produced, not 69 as the
defense had previously believed.

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number of meeting notes produced to the defense far exceed the number of meetings that the
witnesses had with the government.

When evaluating a potential witness’s truthfulness, “[t]he prosecutor and the government
agents had a similar responsibility and it is the duty of a prosecutor, himself, to evaluate the
credibility of the witnesses he calls to the stand. Indeed, an obvious purpose of the standard
procedure for the FBI to write 302 reports and the DEA to prepare and keep DEA 6 reports is to
have some assurance about the credibility of the information they receive in their investigations.”
United States v. Van Nuys, 707 F. Supp. 465, 470-71 (D. Colo. 1989). Van Nuys goes on to hold
that deliberate failure to prepare DEA-6 reports of witness interviews constituted a violation of
the duty to preserve evidence that deprived defendant of right to a fair trial. See id. at 470.

Mr. Zambada Garcia undoubtedly provided the government with a treasure trove of
information about the cartels and, given his leadership role in the cartel, it is implausible that the
government would not have memorialized the information he provided. While the Court gave
the government the benefit of the doubt when this issue was originally before it, in light of what
appears to be a pattern of non-disclosure as described above, the Court should re-examine the
government’s contention that no notes exist from approximately 48 meetings with a crucial cartel
leader. At a minimum, the Court should order the government to detail its efforts to gather the
3500 material related to Mr. Zambada Garcia. The government should be required to provide an
explanation as to why its practices as it relates to Mr. Zambada Garcia were so different from
other cooperating witnesses. Perhaps it can satisfactorily explain the glaring discrepancies or
perhaps the Court will conclude that it should have precluded Mr. Zambada Garcia’s testimony

as requested by the defense. See TT at 1442-43. If the Court were to determine that the

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government’s claims concerning the lack of 3500 material for Mr. Zambada Garcia were not

credible, it should vacate Mr. Garcia Luna’s conviction and order a new trial.
Point VIII

The Cumulative Effect Of The Brady Violations And Newly
Discovered Evidence Establishing Perjury Requires That Mr. Garcia
Luna Be Granted A New Trial To Prevent Manifest Injustice

Any one of the issues detailed above allows this Court to grant Mr. Garcia Luna’s motion
for a new trial pursuant to Rule 33 to prevent a manifest injustice. However, even if, on their
own, these issues are insufficient to lead the Court to vacate Mr. Garcia Luna’s conviction, in
totality they paint the picture of an unfair trial that resulted in an unjust conviction. It is now
clear that multiple witnesses lied to the jury. The government failed to disclose Brady and Giglio
material. These issues are no small matter. They affect the fairness of the trial and the proper
administration of justice. While finality is a necessary consideration for the Court, that concern
must give way to ensuring that a person was not unjustly convicted. In light of the newly

discovered evidence, one cannot have confidence that the jury’s verdict was correct. To avoid a

manifest injustice, the Court should vacate Mr. Garcia Luna’s conviction and order a new trial.

CONCLUSION
For the foregoing reasons, this Court should grant Mr. Garcia Luna a new trial pursuant to

Rule 33 of the Federal Rules of Criminal Procedure.

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